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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  THE ESTATE OF AARON BAILEY, by )
  Personal Representative Stacey Bailey, )
                                         )
               Plaintiff,                )
                                         )
         v.                              )           Case No. 1:17-cv-3352-RLY-TAB
                                         )
  CITY OF INDIANAPOLIS, et al.           )
                                         )
               Defendants.               )

                                STIPULATION OF DISMISSAL

        The parties, by counsel, hereby stipulate to the dismissal of all claims in this case with

 prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

 Respectfully Submitted,



  Craig R. Karpe (with permission)                  /s/ Andrew J. Upchurch
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                                 CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing was filed electronically on August 1, 2018. The

 Court’s electronic filing system shall provide service on:

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